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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
UNITED STATES OF AMERICA )
)
Vv. }
)
JERZY MATYSIK, )
}
Defendant, ) No. 04 CR 778-10
)
and ) Judge Kendall
)
ALL STATE EQUIPMENT RENTAL, INC.)
(f/k/a ALL AMERICAN EXTERIOR )
SOLUTIONS, INC.), )
)
Third-Party Respondent. )

AMENDED TURNOVER ORDER

This matter is before the court on the United States’ motion for an amended turnover order.
The court entered a turnover order against All American Exterior Solutions, Inc. as third-party
citation respondent and the employer of Jerzy Matysik. Dkt. 732. The turnover order required All
American Exterior Solutions to remit to the Clerk of Court 25% of the Matysik’s disposable
earnings. Through an intracompany transfer, Matysik was transferred to All State Equipment

Rental, Inc. It is therefore,

 

 
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ORDERED that All State Equipment Rental, Inc., is substituted as the respondent in this
matter; it shall submit to the clerk of the court 25% of the defendant’s disposable earnings for each
pay period since the citation was served and continuing each pay period until the debt is paid in
full, or unti] the respondent no longer has custody, possession, or control of any wages belonging

to the defendant, or until further order of this court.

Date:

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